Case 1:22-cv-20707-JEM Document 74-2 Entered on FLSD Docket 04/17/2023 Page 1 of 4




                                                                    Kirby D. Behre
                                                                    Member
                                                                    (202) 626-5960
                                                                    kbehre@milchev.com

                                                             February 10, 2023


   VIA EMAIL

   Elan I. Baret
   Baret Law Group
   3999 Sheridan Street, Suite 200
   Hollywood, FL 33021

   Christopher Scott Salivar
   Christopher S. Salivar, P.L.L.C.
   6576 Whispering Wind Way
   Delray Beach, FL 33484


           Re:     Azima v. Insight Analysis and Research LLC, et al, 1:22-CV-
                   20707; Additional Discovery Pursuant to the Court’s Order
                   Dated January 3, 2023

   Mr. Baret and Mr. Salivar:

         We write on behalf of our client, Petitioner Farhad Azima regarding the production of
   documents by Respondents Insight Analysis & Research LLC and SDC-Gadot LLC (collectively
   “Respondents”).

           As you are aware, on January 3, 2023, the Court partially granted our motion to compel
   production of documents. See ECF No. 62 at 2-3. The Court has ordered Respondents to produce
   the following: (1) bank records reflecting payments to vendors, subcontractors, and employees of
   Gadot Information Services (“Gadot Israel”), (2) accounting records relating to payments to
   entities on a list to be provided by Petitioner, (3) e-mails related to the movement of funds for
   transactions identified by Petitioner, and (4) WhatsApp, Signal, Silent Circle, and other messaging
   service communications relating to the movement of funds for transactions identified by Petitioner.

           On January 25, 2023, you sent a small production of documents. However, the production
   only included financial records already within Mr. Azima’s possession, messaging correspondence
   with Mr. Page within Mr. Azima’s possession, and publicly available corporate filings for
   Respondents. Most of the documents appear to be documents provided by Petitioner to
   Respondents at their depositions. Indeed, out of the 862 pages produced by Respondents, the only

     Miller & Chevalier Chartered . 900 16th Street NW . Black Lives Matter Plaza . Washington, DC 20006
                                     T 202.626.5800 . millerchevalier.com
Case 1:22-cv-20707-JEM Document 74-2 Entered on FLSD Docket 04/17/2023 Page 2 of 4


   February 10, 2023
   Page 2

   documents Mr. Azima did not already possess some version of are sixteen pages of recent publicly
   available corporate filings renaming Respondents in Florida. Respondents’ production obligations
   are far from complete.

           Attached is a set of search terms (“Attachment A”) for you to use to search bank records,
   accounting records, emails, and messaging applications, as required by the Court’s order. As
   Respondents have taken the incorrect position that they have no documents to produce, please run
   these search terms and provide a summary of the hit counts for each term. Please also confirm
   your availability next week to confer regarding the ordered production.
   .

                                                                       Sincerely,



                                                                       Kirby D. Behre




                Miller & Chevalier Chartered . 900 16th Street NW . Washington, DC 20006
                                    T 202.626.5800 . millerchevalier.com
Case 1:22-cv-20707-JEM Document 74-2 Entered on FLSD Docket 04/17/2023 Page 3 of 4




   TO:         Elan Baret
               Christopher Salivar

   FROM:       Miller & Chevalier Chartered

   DATE:       February 10, 2023

   RE:         Attachment A: Proposed Search Terms Pursuant to ECF No. 62



                                       Search Term
   (Beech OR Beach OR Project Beech OR Project Beach OR Beech Project OR Beach Project)
   (Nariman OR Narim* OR Nari* OR Nar* OR Nar2* OR N2)
   (Aviram OR Avi OR Azari OR Hawk)
   (Page)
   (Halabi)
   (Del Rosso OR NDR OR Vital OR VMS)
   (BMI*)
   (Sublime*)
   (Lavie)
   (Insight w/5 GS* OR GSIA)
   (omri48@gmail.com)
   (Dinka*)
   (Overseas w/5 Consulting)
   (Telecom w/5 Florida)
   (Ezekiel w/5 Golan)
   (Gadot /3 Information)
   (FusionGPS OR (fusion w/5 GPS))
   (Global w/5 (analysis or impact))
   (TPV Inventa)
   (PandaFace)
   (KMI Group)
   (Yesodot)
   (Hayarkon)
   (Tekara)
   (Tulloch)
   (King w/5 drums)
   (Azima OR Generator OR FA OR Farhad)
   (Massaad OR Khater OR KM)
   (Buchan* OR Jam* w/5 Buchanan OR Jamie OR JB*)


                                              1
                                                                                   2808931.1
Case 1:22-cv-20707-JEM Document 74-2 Entered on FLSD Docket 04/17/2023 Page 4 of 4




   (Gerrard OR Neil OR Quarterb* OR Dechert OR Hughes)
   (Arusy OR Eitan OR Eithan OR George)
   (Handjani OR Amir)
   (Frank OR Andr* w/5 Frank)
   (Staff w/5 Meeting)
   (Moosegg)




                                            2
                                                                          2808931.1
